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                            In the United States District Court
                                For the District of Columbia

United States of America                       )
                                               )
v.                                             )       Case No. 1:21-cr-00263-TSC
                                               )
Russell Dean Alford                            )

                   Unopposed Motion to Extend Self-Surrender Date

           Mr. Russell D. Alford, by and through counsel and without opposition from the

United States, moves this Honorable Court for a 60-day extension of the date by

which he must self-surrender to Bureau of Prisons (BOP) custody. In support, Mr.

Alford respectfully submits the following:

      1. Mr. Alford, after being charged by Information with four misdemeanor

           offenses, was placed on bond on March 29, 2021.1

      2. Following a jury trial, Mr. Alford was adjudged guilty on all four counts on

           October 5, 2022.2

      3. On February 2, 2023, this Court sentenced Mr. Alford to serve 12 months in

           BOP custody, to be followed by a 12-month term of supervised release.3 The

           Court further ordered Mr. Alford to pay $500 in restitution to the Architect of

           the Capitol, and a total of $70 in special assessments.4




1   ECF No. 4, N.D. Ala. case no. 2:21-mj-00079-GMB (Rule 5 proceeding).
2   ECF No. 94.
3   ECF No. 110 at 2-3.
4   Id. at 6-7.

                                                      1
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   4. Mr. Alford has received his BOP designation and has been directed to report

      to that facility on March 23, 2023.

   5. Mr. Alford has worked diligently to arrange his personal affairs in advance of

      his self-surrender date, including his financial obligations in connection with

      this case, and otherwise. Mr. Alford will this week be sending payment, via

      U.S. Mail, to satisfy in full the special assessment and restitution ordered by

      this Court. However, Mr. Alford is still in the process of working with the

      holder of the mortgages on his business and residence to negotiate an up-front

      payment that will enable him to avoid default and foreclosure while he is

      incarcerated and unable to make his monthly payments. It is anticipated that

      the requested extension of time would enable Mr. Alford to finalize such

      arrangements and save the necessary funds to make a lump sum pre-payment.

   6. Counsel has conferred with Assistant U.S. Attorney Michael Romano, who

      advised that the United States does not oppose Mr. Alford’s request for a 60-

      day extension.

   7. Mr. Alford has been on bond for nearly two years and has remained fully

      compliant with all terms and conditions of his release—before, during, and

      after his trial and sentencing hearing.

      For all of these reasons, Mr. Alford respectfully requests the Court grant the

requested relief.

                                Respectfully submitted,

                                KEVIN L. BUTLER
                                Federal Public Defender

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                                 Northern District of Alabama

                                 /s/ James Gibson
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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 8, 2023, I electronically filed the foregoing via
this Court’s CM/ECF system, which will send notice of such filing to all counsel of
record.

                                 Respectfully submitted,

                                 /s/ James Gibson
                                 JAMES GIBSON




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